                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                            EASTERN DIVISION

                                    No. 4:08-CV-32-F

PAULINE WHITAKER ALEXANDER,      )
            Plaintiff,           )
                                 )
       v.                        )                                  ORDER
                                 )
Q.V.C. DISTRJBUTJON CENTER, BILL )
STANULIS,                        )
              Defendants.        )

       This matter is before the court upon the motion to dismiss by Defendant Bill Stanulis. The

pro Sf Plaintiff has responded, and this motion is now ripe for ruling.

                               I. STATEMENT OF THE CASE

       Plaintiff initiated this action by filing an Application to Proceed Without Prepayment of Fees

and Affidavit [DE-1] on February 25,2008. In an Order [DEA] filed on February 28, 2008, United

States Magistrate Judge James E. Gates found that Plaintiff met the requirements of 28 U.S.c. §

1915, and directed the Clerk of Court to file PlaintitTs Complaint. In the Complaint [DE-5], Plaintiff

alleges that her employment was terminated because of her illness, and appears to name both Q.V.C,

Distribution Center and Bill Stanulis as Defendants. Thus, Plaintiff appears to be asserting a claim

under the Americans with Disability Act ("ADA"), 42 U,S,C. § 12101. See Complaint [DE-5],

Equal Employment Opportunity Commission ("EEOC") Charge of Discrimination ("I believe that

I have been discriminated against because of my disability in violation of Title I of the Americans

with Disabilities Act of 1990. "). Defendant Bill Stanulis now moves for dismissal of this action

against him on the grounds that (I) the ADA does not provide a remedy against an individual, and

(2) he was not named as a respondent in the Charge of Discrimination flied with the EEOC.




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                                  II. STANDARD OF REVIEW

        When a court considers a motion to dismiss pursuantto Rule 12(b)(6). the factual allegations

in a complaint will be construed in the nonmoving party's favor and treated as true. Edwards v. City

ofGoldsboro, 178 F.3d 231,244 (4th Cir. 1999). The court is " 'not so bound with respect to [the

complaint's] legal conclusions.' " Self v. Norfolk Soulhern Corp., No. 07-1242, 2008 WL 410284,

slip. op. at I (4th Cir. Feb. 13,2008) (per curiam)(quoting Disl. 28, United Mine Workers. Inc. v.

Wellmore Coal Corp., 609 F.2d 1083, 1085-86 (4th Cir. 1979)). The complaint need only contain

a "short and plain statement of the claim showing that the pleader is entitled to relief." FED. R. CIV.

P.8(a). If a claim has been adequately stated in the complaint, it may be supported by showing any

set of facts consistent with the allegations in the complaint. Bell Allanlic Corp. v. Twombly,_

u.s.    ,127 S.Ct. 1955, 1969 (2007).

                                          III. ANALYSIS

       The anti-discrimination provisions of the ADA state that "[n]o covered entity shall

discriminate against a qualified individual with a disability because of the disability of such

individual in regard to job application procedures, the hiring, advancement, or discharge of

employees, employee compensation, job training, and other terms, conditions, and privileges of

employment." 42 U.S.C. § 12112(a). Under the ADA, "covered entity" is defined to mean "an

employer, employment agency, labor organization, or joint-labor management committee." 42

U.S.C. § 12111. An "employer" under the ADA is "a person engaged in an industry affecting

commerce who has 15 or more employees ... and any agent of such person." 42 US.C. §

12111 (5)(A). The majority of courts that have examined the issue of whether individuals are liable

under the ADA have observed that the ADA's definition of "employer" mirrors the definitions of


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"employers" in both Title VII of the Civil Rights Act, 42 U.S.c. § 2000e(b) and Age Discrimination

in Employment Act ("ADEA"), 29 U.S.c. § 630(b). Employing the same reasoning used to analyze

the meaning of "employer" under Title VII and the ADEA, courts have concluded that individuals

may not be held liable under the anti-discrimination provisions of the ADA. See, e.g., EEOC v. AIS

Sec. Invesligalions, Lid., 55 F.3d 1276, 1282 (7th Circ, 1995)("We hold that individuals who do not

otherwise meet the statutory definition of 'employer' cannot be liable under the ADA. "). Cf Baird

v. Rose, 192 FJd 462, 472 (4th CiT. 1999)(holding that there is no individual liability in the context

of the public accommodation provisions of the ADA).

       Here, Stanulis is named in the Complaint only as "plant manager." It is clear from the face

of the Complaint that Stanulis is not an "employer" within the meaning of the anti-discrimination

provisions of the ADA, and therefore cannot be held liable under the Act. Consequently, his Motion

to Dismiss [DE-II] is ALLOWED.

                                        IV. CONCLUSION

       For the foregoing reasons, Defendant Bill Stanulis's Motion to Dismiss [DE-II] is

ALLOWED,and Plaintiffs claims against him are DISMISSED. The Clerk of Court is DIRECTED

to continue the management of this case.

       SO ORDERED.
                    .r
       This the _/_ day of July, 2008.


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                                                          es C. Fox
                                                        enior United States District Judge




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